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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                                AIKEN DIVISION

UNITED STATES OF AMERICA                    ) CR. N O.: --:....:.~ cr_3=33
                                                             If 1:2_   _ _ __
                                            )
              vs.                           )             21 USC § 846
                                            )             21 USC § 841(a)(1)
TERRANCE LAMAR WIGGINS                      )             21 USC § 841(b)(1)(A)
    a/k/a T-Wig                             )             21 USC § 841(b)(l)(C)
    a/k/a Barnwell                          )             18 USC § 922(g)
                                            )             18 USC § 924(a)(2)
                                            )             18 USC § 924(c)(I)
                                            )             18 USC § 924(d)
                                            )             18 USC § 924(e)
                                            )             21 USC § 853
                                            )             21 USC § 881
                                            )             28 USC § 2461(c)
                                             )
                                             )             INDICTMENT

                                          COUNT 1

THE GRAND JURY CHARGES:

       That beginning at a time unknown to the grand jury, but beginning at least in or around

2005, and continuing thereafter, up to and including the date ofthis Indictment, in the District

of South Carolina, the defendant, TERRANCE LAMAR WIGGINS, a/k/a T-Wig, a/k/a

Barnwell, knowingly and intentionally did combine, conspire and agree with others, both

known and unknown to the grand jury, to knowingly, intentionally and unlawfully possess with

intent to distribute and distribute cocaine, a Schedule II controlled substance, said conspiracy

involving 5 kilograms or more of cocaine, in violation of Title 21, United States Code,

Sections 841 (a)(1) and 841(b)(I)(A);

       All in violation of Title 21, United States Code, Section 846.
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                                         COUNT 2

THE GRAND JURY FURTHER CHARGES:

       That on or about March 28, 2012, in the District of South Carolina, the defendant,

TERRANCE LAMAR WIGGINS, alkla T-Wig, alkla Barnwell, knowingly,

intentionally, and unlawfully did possess with intent to distribute a quantity of cocaine, a

Schedule II controlled substance;

       In violation of Title 21, United States Code, Sections 841(a)(1) and 84 1(b)(l)(C).




                                          COUNT 3

THE GRAND JURY FURTHER CHARGES:

       That on or about March 28, 2012, in the District of South Carolina, the defendant,

TERRANCE LAMAR WIGGINS, alkla T-Wig, alkla Barnwell, knowingly did possess

a fireann in furtherance of a drug trafficking crime for which he may be prosecuted in a

court of the United States;

       In violation of Title 18, United States Code, Section 924( c)( 1).




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                                       COUNT 4

      That on or about March 28, 2012, in the District of South Carolina, the defendant,

TERRANCE LAMAR WIGGINS, a/k/a T-Wig, a/k/a Barnwell, having been convicted

of a crime punishable by imprisonment for a term exceeding one year, knowingly did

possess in and affecting commerce firearms and ammunition, to wit, a Norinco SKS rifle,

7.62 x 39 mm; Glock 30, .45ACP caliber semi-automatic pistol; Remington 870 pump, 12­

gauge shotgun; a Remington 552, .22 LR rifle; and ammunition, all of which had been

shipped and transported in interstate commerce,

      In violation of Title 18, United States Code, Sections 922(g)(l), 924(a)(2), and

924(e).




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                                       FORFEITURE
1.     DRUG OFFENSES:

       Upon conviction for felony violations ofTitle 18 and 21, United States Code as charged

in this Indictment, the defendant, TERRANCE LAMAR WIGGINS, a/kla T-Wig, a/kla

Barnwell shall forfeit to the United States all ofthe defendant's right, title and interest in and

to any property, real and personal,


       (a)    constituting, or derived from any proceeds the defendant obtained, directly or
              indirectly, as the result ofsuch violation(s) ofTitle 21, United States Code, and
              all property traceable to such property;

       (b)    used or intended to be used, in any manner or part, to commit or to facilitate the
              commission of such violations of Title 21, United States Code;

       (c)    any firearms and ammunition (as defined in 18 U.S.C. § 921)­

              (1)     used or intended to be used to facilitate the transportation, sale, receipt,
                      possession or concealment of controlled substances or any proceeds
                      traceable to such property;

               (2)    involved in or used in any knowing violations of 18 U.S.C. §§922 and
                      924, or violation of any other criminal law of the United States, or
                      intended to be used in a crime of violence;


2.     PROPERTY:

       Pursuant to Title 18, United States Code, Section 924( d), Title 21, United States Code,

Sections 853(a)(1), 853(a)(2), and 881(6), and Title 28, United States Code, Section 2461(c),

the property which is subject to forfeiture upon conviction of the defendant for offenses

charged in this Indictment includes, but is not limited to, the following:




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A.    ProceedslMoney Judgment:

      (1)   A sum of money equal to all property the defendant obtained as a result
            of the drug offenses charged in the Indictment, that is a minimum of
            $5,000,000 in United States currency, and all interest and proceeds
            traceable thereto;

B.    Real Property:

      (1)   248 White Oak Drive
            Barnwell, South Carolina
            Titled in the name of Tamara M. Anderson
            Tax Map No. 092-00-00-037

            ALL that certain lot ofland containing 1.56 acres, situate approximately
            one mile South of the city limits of the City of Barnwell, Barnwell
            School District, County ofBarnwell, State of South Carolina, and being
            shown and delineated on an individual plat prepared for Joyce Holloway
            Foust by Terry L. Ray, R.L.S., dated July 30, 1987, and recorded in Plat
            Book 2-C, at Page 22, in the office of the Clerk of Court for Barnwell
            County, and is bounded and measures, as shown on the aforesaid
            individual plat, as follows: North by lands of Frances Duncan and
            measuring thereon 179.30 feet; East by lands of lola G. Priester and
            measuring thereon 370.74 feet; South by lands of Willie Duncan and
            measuring thereon 190.80 feet; and West by lands of Wayne Rutherford
            and measuring thereon 363.93 feet.

            BEING the same premises conveyed to Joyce Holloway Foust by deed
            of lola G. Priester dated August 5, 1987, and recorded August 6, 1987,
            in Book 67, at Page 208, in the office ofthe Clerk of Court for Barnwell
            County.

C.    U.S. Cash/Currency:

      (1)    $634,257.00 US Currency seized on March 28,2012;

D.    Vehicles:

      (1)    2010 Chevrolet Camaro SS, Vin: 2G1FK1EBA9182062,
             Registered to: Terrance Wiggins;                .
      (2)    2009 Land Rover - Range Rover, Vin: SALSH23459A203039


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              (3) Registered to: Shane Burroughs;
              (4) 1996 Chevrolet Pickup, Yin: 2GCEK19ROTl120249
                   Registered to: Terrance Wiggins;
              (5) 1996 Chevrolet Caprice, Yin: IGIBL52P5TR153229
                   Registered to: Frances Brown;
              (6) 1963 Chevrolet Impala, Yin: 31739J264208
                   Registered to: Frances Brown;
              (7) 2011 Suzuki VZR1800Ll, Yin: JSIVY53AOB2101329
                   Registered to: Cawarren Rodriquez Jenkins;
              (8) 2006 Suzuki M109, Yin: JSIVY53A762103231
                   Registered to: Edwin Jerode Wiggins;
              (9) 2005 Suzuki GSX-RlOOOK5, Yin: JSIGT76A552103015
                   Registered to: Terrance Wiggins;
              (10)                2011 Covered Wagon Trailer, model CW8.5x24TA3 SN:
                                  53FBE2428BE003746, Registered to: Terrance Wiggins;
              (10)                EZ Go Textron Golf Cart (gas powered with a stereo
system) SN:                       245166;

      E.       Jewelry:

               (1) Miscellaneous jewelry seized on March 28, 2012;

      F.       Firearms/Ammunition:

                (1) Norinco model SKS 7.62 caliber SN: 25009196;
                (2) Remington model 870 12 guage SN: AB 142049M;
                (3) Remington model 522 22 caliber no SN;
                (4) Glock mode130 45 caliber handgun SN: FTV898;
                (5) New England Firearms Co. Model R73 32 caliber SN: ND006232;
                (6) Ruger model LCP 380 caliber SN: 374-94620;
                (7) Miscellaneous ammunition.


       3.       SUBSTITUTION OF ASSETS:

       Ifany ofthe property described above as being subject to forfeiture, as a result ofany

 act or omission of the defendant:

        (a)     cannot be located upon the exercise of due diligence;
        (b)     has been transferred or sold to, or deposited with, a third person;
        (c)     has been placed beyond the jurisdiction of the Court;
        (d)     has been substantially diminished in value; or

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       (e)    has been commingled with other property which cannot be subdivided without
              difficulty;

it is the intent ofthe United States, pursuant to Title 21, United States Code, Section 853(p)

to seek forfeiture ofany other property of defendant up to an amount equivalent to the value

of the above-described forfeitable property;

       Pursuant to Title 18, United States Code, Section 924( d), Title 21, United States Code,

Sections 853 and 881, and Title 28, United States Code, Section 2461 (c).



                                                               "


                                                                             ~
                                                   Redacted
                                               REPERSON



WILLIAM N. NETTLES Gnr)
UNITED STATES ATTORNEY




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